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                   IN THE UNITED STATES DISTRICT COURT
                    FOR NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                            )
Christopher Bailey                          )
                                            )
      Plaintiff,                            )
                                            )
                                            )
v.                                          )
                                            ) CASE NO.: 1:13-CV-4114-LMM
INNOVATIVE CONTRACTING                      )
SOLUTIONS, INC.; and                        )
MATHEW HUBBARD                              )
                                            )
   Defendants.                              )
                                            )

                                      ORDER

     On February 4, 2015, the Court held a telephonic hearing to examine the

reasonableness of the settlement agreement. The Court’s finding of facts and

conclusions of law are contained with the transcript of that hearing. Pending before

the Court is the Joint Motion to Approve a Fair Labor Standards Act Settlement and

Dismiss with Prejudice [50]. The Court has carefully reviewed the Parties’

Settlement Agreement and finds that it is fair and reasonable in light of the claims

asserted. Therefore, the Court GRANTS the Parties’ Joint Motion to Approve a Fair

Labor Standards Act Settlement. The Court DISMISSES the above styled case with

prejudice and therefore, DIRECTS the Clerk to close this case. Pursuant to the

Parties’ Settlement Agreement, the Court shall retain jurisdiction to enforce the

terms Settlement Agreement.

     IT IS SO ORDERED, this 4th day of February, 2015.
